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              EXHIBIT K
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

           DAVID J. MATTILA, ET AL.,

                  Plaintiffs,
                                                      Case No. 19-cv-10446
                      v.
                                                 UNITED STATES DISTRICT COURT
                                                   JUDGE GERSHWIN A. DRAIN
  CENTERS FOR MEDICARE & MEDICAID,
               ET AL.,

            Defendants.
  ______________________________/
     OPINION AND ORDER GRANTING DEFENDANT’S MOTION TO
                            DISMISS [#20]

                                   I. INTRODUCTION

       On August 10, 2018, Plaintiff David J. Mattila, as Personal Representative of

 the Estate of Milda E. Mattila, filed the instant declaratory action against Defendants

 Centers for Medicare & Medicaid Services, Select Specialty Hospital – Ann Arbor,

 and Blue Cross Blue Shield of Michigan in the Livingston County Circuit Court.

 See ECF No. 1, PageID.2. On February 14, 2019, Defendant Centers for Medicare

 & Medicaid Services (hereinafter, “Defendant”) removed this matter to this Court.

 See id.

       Presently before the Court is Defendant’s Motion to Dismiss, filed on October

 29, 2019. ECF No. 20. Plaintiffs filed a Response on December 18, 2019. ECF No.

 24. Defendant filed its Reply on January 17, 2020. ECF No. 27. A hearing on



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 Defendant’s Motion was scheduled for February 5, 2020. After reviewing the

 parties’ briefs, the Court finds that no hearing on the Motion is necessary. See E.D.

 Mich. LR 7.1(f)(2). For the reasons that follow, the Court will GRANT Defendant’s

 Motion to Dismiss [#20].

                             II. FACTUAL BACKGROUND

       The instant matter stems from a mass tort settlement relating to a national

 meningitis outbreak. ECF No. 20, PageID.125. Plaintiffs were injured as a result of

 steroid injections found to be tainted with fungal meningitis.        ECF No. 24,

 PageID.300.

    A. The Parties’ Relationship to the Underlying Mass Tort Settlement

       Plaintiffs received covered medical items and services as a result of their

 injuries from the fungus-tainted steroid injections. ECF No. 20, PageID.124. Under

 the Medicare Secondary Payer (“MSP”) provisions of the Social Security Act, 42

 U.S.C. § 1395y(b)(2), Medicare functions as a secondary provider of medical

 services for beneficiaries. ECF No. 24, PageID.124. Generally, a non-Medicare,

 primary payer—including a judgment or settlement involving a third-party

 tortfeasor—must be utilized first before Medicare coverage is available. Id. In some

 circumstances, however, such coverage is not immediately available; Medicare

 therefore pays a “conditional payment” for covered services to make sure that their

 beneficiaries receive their necessary medical items and services. Id. The MSP



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 provisions give Medicare a statutory right to reimbursement for its conditional

 payments once a primary payer can fulfill its payment responsibility. See 42 U.S.C.

 § 1395y(b)(2)(B)(ii).   Here, Defendant asserted liens against Plaintiffs for its

 conditional payments. See ECF No. 13.

       Plaintiffs in the instant matter each pursued separate federal and state actions1

 to receive monetary relief for their injuries from multiple defendants, including the

 manufacturer of the steroid injections, New England Compounding Pharmacy Inc.,

 d/b/a New England Compounding Center (“NECC”). See ECF No. 13; ECF No. 20,

 PageID.126. Due to the number of claimants and the amount of damages presented

 in the federal lawsuit, NECC filed for Chapter 11 bankruptcy in the United States

 Bankruptcy Court for the District of Massachusetts. ECF No. 20, PageID.126; ECF

 No. 24, PageID.303. The bankruptcy court approved a NECC National Settlement

 in May 2015, which established five NECC settlement funds for claimants to receive

 payments in connection with their tort claims. ECF No. 24, PageID.126.

       In September 2016, Defendant, the NECC Tort Trustee, and several other

 parties entered into a settlement agreement (“MSP Settlement Agreement”), which

 was created to “streamline the process by which Medicare-entitled claimants (such

 as plaintiffs) could resolve their MSP obligations to [Defendant].” ECF No. 20,


 1
  In re: New England Compounding Pharmacy, Inc., Case No. MDL No. 1:13-md-
 2419-FDS (D. Mass.) and Adair, et al. v. Michigan Pain Specialists PLLC, et al.,
 Case No. 14-28156-NO (Livingston Cty. Cir. Ct., Mich.)

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 PageID.127. The MSP Settlement Agreement provided a formula to calculate the

 amount of MSP payments that Defendant would accept “in full satisfaction of its

 reimbursement rights from the NECC Settlement Funds.” Id. Further, the MSP

 Settlement Agreement provided that claimants, like Plaintiffs, would have the

 “Negotiated Lien Payment Amounts” automatically deducted from any settlement

 payments they received from the NECC Settlement Funds. Id.

       According to Defendant, every Plaintiff “opted-out” of the MSP Settlement

 Agreement. Id. at PageID.128. Plaintiffs therefore “relinquished their rights to have

 their MSP obligations resolved based on the formula and Negotiated Lien Payment

 Amounts.” Id. Defendant argues that Plaintiffs were thus “left to process and

 resolve their MSP claims pursuant to the standard process set forth by the MSP

 statute and implementing regulations and guidance.” Id. Plaintiffs assert that they

 never “opted out,” but rather were “forced out” of the lien agreement. ECF No. 24,

 PageID.304. In their Amended Complaint, Plaintiffs explain that the lien reduction

 formula did not benefit claimants having small liens and higher settlements. See

 ECF No. 13, PageID.59.

       Nevertheless, each Plaintiff either received or is expected to receive a total

 gross settlement from the federal and state actions.2 See ECF No. 13. Plaintiffs



 2
   The Amended Complaint includes the total gross settlement amount for each
 named Plaintiff.

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 Mattila and Mazure allege that “[b]ecause of the unique circumstances of these

 cases,” they must first resolve their Medicare liens before they are entitled to any

 proceeds from the lawsuits. ECF No. 24, PageID.300. The remaining Plaintiffs

 received some or all of their settlement proceeds. Id. at PageID.301. According to

 these remaining Plaintiffs, they also paid off their liens in full, “only to have

 Medicare re-assert the same lien on the same settlement.” Id.

     B. Plaintiffs’ Action for Declaratory Judgment

       Plaintiffs’ Amended Complaint brings two counts of declaratory relief against

 Defendant.3 See ECF No. 13. In Count I, Plaintiffs Mattila and Mazure request that

 the Court declare that Defendant’s claim of lien against them be resolved. Id. at

 PageID.75. They allege that they cannot receive their settlement proceed without

 such judicial intervention. ECF No. 24, PageID.302.

       In the Amended Complaint, Plaintiff Mattila asserts that the liens asserted

 against the anticipated settlement proceeds are “grossly in excess” of the anticipated

 gross recovery. ECF No. 13, PageID.52. Specifically, Defendant asserted a lien for

 $367,828.72 in conditional payments, while Plaintiff Mattila is allegedly expected

 to receive a total gross settlement of $300,186.91. Id. at PageID.51. Plaintiff Mattila



 3
   Since Defendants Select Specialty Hospital – Ann Arbor and Blue Cross Blue
 Shield of Michigan are not parties to the instant Motion, the Court will only address
 Plaintiffs’ claims as they relate to Defendant Centers for Medicare & Medicaid
 Services.

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 purports that Defendant agreed to resolve its lien interests pursuant to a “lien

 reduction formula.” Id. at PageID.53.

       Plaintiff Mazure asserts that many of the conditional payment amounts which

 Defendant submitted are “unrelated to [his] tainted fungal injection claims[.]” Id. at

 PageID.54. Defendant’s asserted lien, therefore, is allegedly inaccurate. According

 to Plaintiff Mazure, Defendant has refused to resolve its lien interest for anything

 less than an amount based on conditional payments of $77,597.14. Id. at PageID.55.

       In Count II, the remaining nine Plaintiffs request that the Court (1) declare

 that Plaintiffs have paid their Medicare liens in full and (2) prevent Defendant from

 reasserting the allegedly resolved lien interests. ECF No. 13, PageID.76. They

 assert that while they have either received some or all of their settlement proceeds,

 and subsequently paid off their liens in full, Defendant has continued to re-assert the

 same liens on the same settlement. ECF No. 24, PageID.301.

       Defendant removed Plaintiffs’ declaratory action from the Livingston County

 Circuit Court to this Court. See ECF No. 1. The parties informed this Court at a

 Status Conference on August 20, 2019 that they were engaging in settlement

 negotiations. See ECF No. 12, PageID.47. Plaintiffs filed an Amended Complaint

 the following week, which added several additional parties. See ECF No. 13.

    C. Defendant’s Present Motion to Dismiss




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       Defendant filed its instant Motion to Dismiss, arguing that Plaintiffs’ claims

 against it should be dismissed for lack of subject matter jurisdiction. ECF No. 20.

 Medicare beneficiaries, like Plaintiffs, are entitled to appeal a demand for

 reimbursement of MSP conditional payments through a five-step administrative

 process set forth in 42 U.S.C. § 405(b). Id. at PageID.131. Once beneficiaries

 comply with the administrative process, judicial review is permitted in accordance

 with 42 U.S.C. § 405(g). Id. Defendant argues that all of Plaintiffs’ claims “arise

 under” the Medicare Act, thus making them subject to administrative exhaustion.

 Id. at PageID.132. However, Plaintiffs have purportedly “failed to exhauste their

 administrative remedies with respect to any of the demands for payment made by

 [Defendant] or its contractor under the MSP statute.” Id.

       Plaintiffs opposed Defendant’s Motion, asserting that the Motion should be

 denied for three reasons. ECF No. 24, PageID.302. First, Plaintiffs Mattila and

 Mazure argue that because they have not received any settlement proceeds, “the

 administrative process for demand for reimbursement and any review and appeal

 thereof does not and cannot apply.” Id. Second, they assert that their request for

 judicial intervention is actionable pursuant to 5 U.S.C. § 704. Id. Finally, the

 remaining Plaintiffs purport that “all administrative remedies have been exhausted

 as evidenced by each Plaintiff having already negotiated, resolved, and fully paid




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 [Defendant]’s lien interests.” Id. Defendant filed its Reply to Plaintiffs’ opposition

 on January 17, 2020. See ECF No. 27.

                                    III. LEGAL STANDARD

       “Federal courts are courts of limited jurisdiction; they exercise only that

 authority conferred on them by Article III and congressional enactments pursuant

 thereto.” Walters v. Leavitt, 376 F. Supp. 2d 746, 751 (E.D. Mich. 2005) (quoting

 Bender v. Williamsport Area Sch. Dist., 475 U.S. 534, 541 (1986)). It is presumed

 that actions lie outside of this limited jurisdiction and that the burden of establishing

 jurisdiction is on the party asserting jurisdiction. Kokkonen v. Guardian Life Ins.

 Co. of Am., 511 U.S. 375, 377 (1994).

       Federal Rule of Civil Procedure 12(b)(1) allows the court to dismiss an action

 for lack of subject matter jurisdiction. “A Rule 12(b)(1) motion for lack of subject

 matter jurisdiction can challenge the sufficiency of the pleading itself (facial attack)

 or the factual existence of subject matter jurisdiction (factual attack).” Cartwright

 v. Garner, 751 F.3d 752, 759 (6th Cir. 2014) (citing United States v. Ritchie, 15 F.3d

 592, 598 (6th Cir. 1994)). “A facial attack goes to the question of whether the

 plaintiff has alleged a basis for subject matter jurisdiction, and the court takes the

 allegations of the complaint as true for purposes of Rule 12(b)(1) analysis,” but “[a]

 factual attack challenges the factual existence of subject matter jurisdiction.”

 Cartwright, 751 F.3d at 759 (internal citation omitted). When a party presents a



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 factual attack, the court has “broad discretion with respect to what evidence to

 consider in deciding whether subject matter jurisdiction exists, including evidence

 outside the pleadings, and has the power to weigh evidence and determine the effect

 of that evidence on the court’s authority to hear the case.” Id. at 759–60.

       Where subject matter jurisdiction is challenged pursuant to Rule 12(b)(1), the

 plaintiff has the burden of proving jurisdiction in order to survive the motion. DLX,

 Inc. v. Commonwealth of Kentucky, 381 F.3d 511, 516 (6th Cir. 2004); Moir v.

 Greater Cleveland Regional Transit Authority, 895 F.2d 266, 269 (6th Cir. 1990).

                                        IV. ANALYSIS

    A. Plaintiffs’ Claims “Arise Under” the Medicare Act

       Congress has prescribed a specific and exclusive method for judicial review

 of any and all disputes arising under the Medicare program. See Michigan Ass’n of

 Homes and Servs. For Aging v. Shalala, 127 F.3d 496, 497 (6th Cir. 1997). Congress

 limited federal court jurisdiction by expressly incorporating 42 U.S.C. § 405(h), a

 Social Security Act provision, into the Medicare Act. See 42 U.S.C. § 1395ii.

 Section 405(h) provides, in relevant part, that:

       No findings of fact or decision of the Commissioner of Social Security
       shall be reviewed by any person, tribunal, or governmental agency
       except as herein provided. No action against the United States, the
       Commissioner of Social Security, or any officer or employee thereof
       shall be brought under section 1331 or 1346 of Title 28 to recover on
       any claim arising under this subchapter.

 42 U.S.C. § 405(h).

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       A claim “arises under” the Medicare Act, therefore triggering § 405(h), where

 “both the standing and the substantive basis for the presentation” of the claims is the

 Medicare Act. Heckler v. Ringer, 466 U.S. 602, 615 (1984) (quoting Weinberger v.

 Salfi, 422 U.S. 749, 760–61 (1975)); Giesse v. Sec’y of Dep’t of Health and Human

 Servs., 522 F.3d 697, 702 (6th Cir. 2008); see also Walters, 376 F. Supp. at 753.

 Here, Defendant argues that all of Plaintiffs’ claims in the Amended Complaint

 “arise under” the MSP provisions of the Medicare Act. ECF No. 20, PageID.135.

 Plaintiffs do not dispute that their claims “arise under” the Medicare Act in their

 Response to Defendant’s instant Motion. See ECF No. 24, PageID.457.

       Each Plaintiff was a Medicare beneficiary at the time of their injuries from the

 tainted steroid injections. ECF No. 20, PageID.135. According to Defendant,

 Plaintiffs have received or anticipate receiving settlement payments from the federal

 and state actions.4 Id. Defendant now asserts its statutory right to be reimbursed for

 Medicare’s conditional payments. Id. Defendant has purportedly “determined and

 demanded repayment of its conditional payments from [P]laintiffs, based on the

 amount of the recoveries that they have reported receiving” through its contractor




 4
   Plaintiffs Mattila and Mazure allege that “[b]ecause of the unique circumstances of
 these cases,” they must first resolve their Medicare liens before they are entitled to
 any proceeds from the lawsuits. ECF No. 24, PageID.300. The remaining Plaintiffs
 received some or all of their settlement proceeds. Id. at PageID.301.

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 that administers the MSP program, the Benefits Coordination & Recovery Center

 (“BCRC”). Id.

       Courts within the Sixth Circuit have determined that claims “arise under” the

 Medicare Act when they derive from Medicare’s determination that it is entitled to

 certain conditional payments under the MSP provisions. For example, the district

 court concluded in Walters v. Leavitt that plaintiffs’ claims “arise under” the

 Medicare Act because “[they] are seeking a determination of the amount of

 reimbursement that Defendant will seek under its subrogation rights created by the

 Medicare Act’s MSP provisions.” 376 F. Supp. 2d at 755. In Wetterman v. Sec’y,

 Dep’t of Health and Human Servs., the district court held that plaintiff’s claim for

 medical benefits “undoubtedly arises under the MSP Act.” No. 2:18-cv-85, 2019

 WL 3208130, at *4 (S.D. Ohio July 16, 2019). There, plaintiff’s underlying claim

 was related to Medicare’s determination that it was entitled to reimbursement from

 the wrongful death settlement proceeds for conditional payment of the decedent’s

 medical care. Id.

       Here, each Plaintiff makes separate factual allegations in the Amended

 Complaint about the appropriate calculation of Medicare’s demand for conditional

 payment. Their individual claims are derived from Medicare asserting its statutory

 right to reimbursement for its conditional payments under the MSP provisions.

 Accordingly, the Court finds that Plaintiffs’ claims “arise under” the Medicare Act.



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    B. Plaintiffs Cannot Establish Jurisdiction Under the APA

       Rather than contesting whether their claims “arise under” the Medicare Act,

 Plaintiffs—specifically Plaintiffs Mattila and Mazure—assert that this Court has

 subject matter jurisdiction over their claims pursuant to the Administrative

 Procedures Act (“APA”). ECF No. 24, PageID.311, 312 (“Plaintiffs have standing

 under the APA to pursue a claim for judicial review of Medicare’s actions relating

 to the issue lien interests.”). Specifically, Plaintiffs argue that they have standing

 under the APA §§ 704 and 706(1) and (2). Id.

       The APA “sets forth the procedures by which federal agencies are accountable

 to the public and their actions subject to review by the courts.” Muniz-Muniz v.

 United States Border Patrol, 741 F.3d 668, 672 (6th Cir. 2013) (quoting Franklin v.

 Massachusetts, 505 U.S. 788, 796 (1992)). It is well-settled that the APA is does

 not directly grant subject matter jurisdiction to the federal courts. Haines v. Fed.

 Motor Carrier Safety Admin., 814 F.3d 417, 423 (6th Cir. 2016) (internal quotations

 and citations omitted); see also Califano v. Sanders, 430 U.S. 99, 107 (1977).

       An agency action, to be reviewable under the APA, must be a “final agency

 action for which there is no other adequate remedy in court.” 5 U.S.C. § 704.

 Defendant argues that there is no final agency action in this case since Plaintiffs have

 allegedly failed to take the first step of the administrative review process pursuant

 to 42 U.S.C. § 1395ff. ECF No. 20, PageID.125, 131–32. Plaintiffs Mattila and



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 Mazure do not contest Defendant’s argument. Rather, they explain that they cannot

 avail itself of any of the administrative remedies because they have not yet received

 an initial Determination Letter. See ECF No. 24, PageID.307, 309. They therefore

 purport that they cannot request a redetermination pursuant to 42 U.S.C. §

 1395ff(a)(3)(B)(i).

       Defendant explains that it included the process for how to obtain a demand

 letter in its “Beneficiary Conditional Payment Letter” to both Plaintiffs Mattila and

 Mazure.5 The letters request that Plaintiffs “refrain from sending any monies to

 Medicare prior to submission of settlement information and receipt of

 demand/recovery calculation letter from our office.” ECF No. 24-6, PageID.337;

 ECF No. 24-13, PageID.386. A blank “Final Settlement Detail Document” was

 included with each letter; this form required information of the settlement amount,

 as well as the “Attorney Fee Amount Paid by the Beneficiary” and any “Additional

 Procurement Expenses Paid by the Beneficiary.” ECF No. 24-6, PageID.339; ECF

 No. 24-13, PageID.388. Defendant alleges that Plaintiffs Mattila and Mazure failed

 to submit the required information. Specifically, Defendant asserts that Plaintiff

 Mattila failed to specify the amount of attorneys’ fees or additional procurement



 5
  Defendant sent Plaintiff Mattila the “Beneficiary Conditional Payment Letter” on
 September 22, 2017. See ECF No. 24-6. BCRC sent Plaintiff Mazure the
 “Beneficiary Conditional Payment Letter” on December 19, 2016. See ECF No. 24-
 13, PageID.385–88.

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 expenses paid by the beneficiary. ECF No. 27, PageID.459. Defendant purports

 that Plaintiff Mazure has yet to provide the amount of the initial settlement payment.

 Id.   Without this required information, Defendant argues that it cannot issue

 Plaintiffs Mattila and Mazure their demand letters. Id. at PageID.459–60.

       The Court denotes that Plaintiff Mattila attempted to compromise or settle its

 MSP obligations with Medicare via letter on April 10, 2017 and via email on August

 9, 2018. See ECF Nos. 24-3; 24-8. The Court further recognizes that Plaintiff

 Mazure provided only the total estimated settlement payment—rather than the

 approved initial payment amount. See ECF No. 24-13, PageID.363. However, these

 attempts fail to include the required information for Defendant to issue demand

 letters to begin the administrative review process.         Plaintiffs concede in their

 Response that they have not taken the first step of the appeal process since they do

 not have the demand letters from Defendant. ECF No. 24, PageID.311. Since

 Plaintiffs have not yet initiated the appeals process, the Court finds that there is no

 final agency action in this case as required under § 704.

       Plaintiffs additionally cite to § 706(1) and (2) of the APA in an attempt to

 establish jurisdiction.   They claim that under these subsections, the Court is

 “empowered to compel agency action unlawfully withheld or unreasonably delayed,

 and / or to set aside any agency actions contrary to law, regulation, or the evidence.”

 ECF No. 24, PageID.311. Under § 706(1), a party may seek a court order “to compel



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 agency action that is unlawfully withheld or unreasonably delayed.” 5 U.S.C. §

 706(1); see also Huron Mountain Club v. United States Army Corps of Eng’rs, 545

 F. App’x 390, 393 (6th Cir. 2013). The Sixth Circuit has held that claims against an

 agency for a failure to act are available only under “limited circumstances”;

 specifically, “only where a plaintiff asserts that an agency failed to take a discrete

 agency action that it is required to take.” Id. (quoting Norton v. S. Utah Wilderness

 All., 542 U.S. 55, 63 (2004) (emphasis in original)).

       Here, Plaintiffs fail to identify the legal requirement for any discrete agency

 action that Defendant was required to take but has failed to do so. Rather, Plaintiffs

 only discuss Defendant’s alleged “apathy on these cases[.]”            ECF No. 24,

 PageID.311. As explained above, Defendant has not issued any demand letters

 because Plaintiffs Mattila and Mazure have not yet complied with the requirements

 in the provided “Final Settlement Detail Document” forms. Accordingly, the Court

 finds that Plaintiffs Mattila and Mazure have failed to state a claim under 5 U.S.C.

 § 706(1).

       Further, as discussed above, Plaintiffs Mattila and Mazure have not alleged a

 final action to which the provisions of 5 U.S.C. § 706(2) would apply. Accordingly,

 the Court finds that the APA cannot be a basis for subject matter jurisdiction in the

 instant matter. See Herzog v. Sec’y of Health, Educ. & Welfare, 686 F.2d 1154,




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 1161 n. 5 (6th Cir. 1982) (dismissing plaintiffs’ allegation that the APA, 5 U.S.C.

 §§ 703 and 706, provided the district court with subject matter jurisdiction).

    C. Plaintiffs Have Not Exhausted Their Administrative Remedies

          The Medicare Act not only provides the sole basis for jurisdiction over

 Medicare claims, but it also requires that claims be pursued through the entirety of

 an administrative review process before the Court is able to exercise its jurisdiction.

 See 42 U.S.C. § 1395ff(b)(1)(A).         Specifically, the Medicare Act adopts the

 exhaustion requirement of the Social Security Act set forth in 42 U.S.C. § 405(g).

 See Walters v. Leavitt, 376 F. Supp. 2d 746, 752 (E.D. Mich. 2005). “Until a

 claimant has exhausted h[is] administrative remedies by going through the agency

 appeals process, a federal district court has no subject matter jurisdiction over h[is]

 lawsuit seeking to ‘recover on any claim arising out of the Medicare Act.’” Walters,

 376 F. Supp. at 753 (internal citation omitted); see also Heckler v. Ringer, 466 U.S.

 602, 614–15 (1984) (explaining that § 405(g), to the exclusion of 28 U.S.C. § 1331,

 is the “sole avenue for judicial review for all claims arising under the Medicare

 Act”).

          The Sixth Circuit has recognized that § 405(g) has been interpreted to contain

 two prerequisites to judicial review. See S. Rehab. Grp., P.L.L.C. v. Sec’y of Health

 and Human Servs., 732 F.3d 670, 678 (6th Cir. 2013). First, § 405(g) consists of a

 nonwaivable requirement for a party to present their claim(s) to the Secretary.



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 Heckler, 466 U.S. at 617.       Second, there is a waivable requirement that the

 administrative remedies prescribed by the Secretary be “pursued fully by the

 claimant.”    Id.   Thus, “both presentment of claims and the exhaustion of

 administrative remedies is required.” Manakee Prof’l Med. Transfer Serv., Inc. v.

 Shalala, 71 F.3d 574, 580 (6th Cir. 1995).

       Here, Plaintiffs did not complete the administrative review process before

 bringing the instant action. Plaintiffs fail to allege in their Amended Complaint that

 they obtained an adverse decision from the Medicare Appeals Council or that they

 completed one of the five steps to the administrative review process. ECF No. 20,

 PageID.139. Further, Plaintiffs do not purport that they previously presented their

 claims to the agency before raising it in court. Id.

       In their Response, Plaintiffs raise several arguments in order to explain why

 they have not exhausted the administrative remedies. Plaintiff Mattila asserts that it

 “cannot avail itself of any of the administrative remedies cited by Defendant because

 Plaintiff does not have standing to pursue even the “first level” of appeal[.]” ECF

 No. 24, PageID.307. Plaintiff Mattila claims that it never received an initial

 determination letter from Defendant. Id. However, as explained in the previous

 section, Plaintiff Mattila failed to include the required information for Defendant to

 issue a demand letter to begin the administrative review process. Defendant argues




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 that once it receives this information, “the BCRC will calculate the final amount due

 to Medicare and issue a demand letter.” ECF No. 27, PageID.459.

       Plaintiff Mazure similarly purports that he does not have an initial

 determination letter to begin the administrative review process. ECF No. 24,

 PageID.309. Plaintiff Mazure included a timeline of his correspondence with

 Defendant to demonstrate that he has been in a “perpetual holding pattern” since

 2017. Id. at PageID.308–09. However, as explained above, Plaintiff Mazure has

 also failed to submit all of the required settlement and procurement information to

 the BCRC to initiate a determination letter.       See ECF No. 27, PageID.459.

 Defendant asserts that once Plaintiff Mazure provides this information, it will issue

 a demand letter to initiate the administrative review process. Id. at PageID.460.

       The remaining Plaintiffs in the instant matter argue that they have “completely

 exhausted their administrative remedies, as evidenced by the fact that Medicare’s

 lien was settled and paid in full.” ECF No. 24, PageID.312. They included a

 timeline of Plaintiff Fobare’s correspondence with Defendant between June 2017

 and August 2018 to illustrate their argument. Id. at PageID.312–13. The Court

 denotes, though, there is no evidence that Plaintiff Fobare, or any of the remaining

 Plaintiffs, completed or attempted to complete any of her administrative remedies

 available under § 405(g). For example, there is no evidence provided in Plaintiffs’

 Response or in their Amended Complaint that Plaintiffs sought review of their



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 claims by the Appeals Council. Accordingly, this Court finds that Plaintiffs have

 not yet exhausted all available administrative remedies to them.

       While this Court has determined that Plaintiffs have not exhausted all

 available administrative remedies, the Court may still have jurisdiction over this

 matter. In Bowen v. City of New York, the Supreme Court identified three factors to

 be considered in deciding whether to waive the exhaustion requirement: (1) are the

 claims at issue collateral to the underlying decisions to eligibility for entitlements;

 (2) would claimants be irreparably harmed were the exhaustion requirement

 enforced against them; and (3) would exhaustion of administrative remedies be

 futile. 476 U.S. 467, 482–86 (1986); see also Shalala, 71 F.3d at 580.

       The Court denotes that Plaintiffs do not argue that the exhaustion requirement

 of § 405(g) should be waived in the instant action. Rather, Defendant is the only

 party to raise such a possibility. ECF No. 20, PageID.139–41. In its Motion,

 Defendant asserts that Plaintiffs fail to satisfy any of the three Bowen factors. Id. at

 PageID.140. Plaintiffs have not established why the exhaustion requirement should

 be waived in the instant matter. In light of this, and because of Supreme Court and

 Sixth Circuit precedent holding that the satisfaction of the administrative exhaustion

 requirement is necessary for jurisdiction, this Court has no authority to hear

 Plaintiffs’ claims at this juncture.




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     D. Plaintiffs Have Not Met Their Burden For This Court To Invoke
        Equitable Estoppel Against Defendant

       The remaining Plaintiffs allege that they have “negotiated, resolved, and fully

 paid Medicare’s lien interests on their respective claims.” ECF No. 24, PageID.312.

 They therefore argue that Defendant’s attempt to reassert its lien interests are barred

 by res judicata and/or collateral estoppel.6 Id. Defendant contends in its Reply that

 it is not estopped from recovering settlement proceeds. ECF No. 27, PageID.461.

 The Court agrees with Defendant.




 6
   In Count II of their Amended Complaint and in their Response, Plaintiffs—
 excluding Plaintiffs Mattila and Mazure—employ “collateral estoppel” to argue that
 the Court should enter declaratory relief in their favor. The party invoking collateral
 estoppel bears the burden of proving that the doctrine applies. Cent. Transp., Inc. v.
 Four Phase Sys., Inc., 936 F.2d 256, 260 (6th Cir. 1991). The doctrine is intended
 to “relieve parties of the cost and vexation of multiple lawsuits, conserve judicial
 resources, and, by preventing inconsistent decisions, encourage reliance on
 adjudication.” Allen v. McCurry, 449 U.S. 90, 94 (1980). “Under collateral estoppel,
 once a court has decided an issue of fact or law necessary to its judgment, that
 decision may preclude relitigation of the issue in a suit on a different cause of action
 involving a party to the first case.” Id. Collateral estoppel effect is given not only
 to final judgments of courts, but also, under certain circumstances, to final decisions
 of administrative agencies. See United States v. Utah Construction Co., 384 U.S.
 394, 421-22 (1966); see also United States v. School Dist. Of Ferndale, Mich., 400
 F. Supp. 1141, 1145 (E.D. Mich 1975). Here, Plaintiffs fail to demonstrate that the
 doctrine applies. Indeed, Plaintiffs do not address any of the doctrine’s elements in
 their Amended Complaint or in their Response to the instant Motion. Further, the
 Court denotes that there has been no final agency decision in the instant action.
 Accordingly, the Court finds that the collateral estoppel principles do not apply to
 Plaintiffs’ claims. The Court will thus only address the equitable estoppel doctrine
 which Defendant raises in its Reply. See ECF No. 27, PageID.461.

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       Estoppel is an “equitable doctrine which a court may invoke to avoid injustice

 in particular cases.” Michigan Exp., Inc. v. United States, 374 F.3d 424, 427 (6th

 Cir. 2004) (internal citation omitted). Generally, the elements of equitable estoppel

 are: “(1) misrepresentation by the party against whom estoppel is asserted; (2)

 reasonable reliance on the misrepresentation by the party asserting estoppel; and (3)

 detriment to the party asserting estoppel.” Id. (internal citation omitted). The

 government, however, “may not be estopped on the same terms as any other

 litigant.” Heckler v. Cmty. Health Servs. of Crawford Cty., Inc., 467 U.S. 51, 60

 (1984).   A plaintiff bears a “very heavy burden” in attempting to estop the

 government. Fisher v. Peters, 249 F.3d 433, 444 (6th Cir. 2001). At a minimum, a

 plaintiff must demonstrate some “affirmative misconduct” by the government in

 addition to the other estoppel elements. Michigan Exp., Inc., 374 F.3d at 427

 (internal citation omitted). The Sixth Circuit has determined that “affirmative

 misconduct” is more than mere negligence; it is an “act by the government that either

 intentionally or recklessly misleads the claimant.” Id.

       Here, Plaintiffs do not demonstrate any “affirmative misconduct.” Further,

 Plaintiffs do not prove an “intentional act” by Defendant nor the Defendant’s

 “requisite intent.” Id. Rather, Plaintiffs merely allege that Defendant’s lien interests

 have already been “negotiated, resolved, and fully paid[.]”             ECF No. 24,




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 PageID.312. Accordingly, the Court finds that Plaintiffs have not met their burden

 for this Court to invoke equitable estoppel against Defendant.

                                  V. CONCLUSION

       For the reasons articulated above, the Court will GRANT Defendant’s Motion

 to Dismiss [#20] and DISMISS THIS CASE WITHOUT PREJUDICE.

       IT IS SO ORDERED.


 Dated:       February 3, 2020
                                               s/Gershwin A. Drain
                                               HON. GERSHWIN A. DRAIN
                                               United States District Court Judge



                           CERTIFICATE OF SERVICE
            Copies of this Order were served upon attorneys of record on
               February 3, 2020, by electronic and/or ordinary mail.
                                /s/ Teresa McGovern
                                    Case Manager




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